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IN THE UNITED STATES DISTRICT coURT DSHHF m PN 2125
FOR THE wE:s'I'ERN DISTRICT oF TENNESSEE

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UNITED STATES OF AMERICA,

Plaintiff,

No. 04-20195 Ma/A
LEO BEARDEN,

Defendant.

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ORDER DENYING MOTION TO COMPEL PRODUCTION OF CONFIDENTIAL
INFORMANT

 

Defendant Leo Bearden is under indictment for violation of 18
U.S.C. § 922(g). Before the court is Bearden's motion to compel
the production of a confidential informant, filed April 21, 2005.
The United States of America (“the government”) responded on April
22, 2005, and filed a supplemental response on May 5, 2005. For
the following reasons, the motion is DENIED.

I. Background

The indictment alleges that, on April 16, 2004, Bearden,
having been convicted of a felony, did “knowingly possess in and
affecting interstate commerce, a firearm, that is aa Glock .40
caliber semiautomatic pistol....”

The following facts are taken from Bearden's motion, unless

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otherwise noted. On January 28, 2004, a confidential informant
(CI) met with Deputy Jodie Chambers of the Shelby County Sheriff’s
Office. (Facts q 1.) Other law enforcement officers were
investigating the North Tire business at 3376 Watkins. (Id. H 3;
Gov. Facts at 1.) Conversations between Chambers and the CI led
law enforcement to believe that one or more employees of North Tire
were unlawfully armed. (Facts q 3.) Bearden cites the following
colloquy between the CI and Chambers as giving information about
armed persons within the North Tire business:

CI: You can come over to my house and drink cool aide
with me if you want to

Chambers: ... l got another one back here that I can get

to. Got it right under here. And these [people] they

got ‘em on them too - and they that [person] a convicted

felon but he got it on him because he is covering me.

Based in part on these conversations between Chambers and the
CI, law enforcement conducted a search of the premises on April 16,
2004.1 (Id. l 3.) Bearden was present at the establishment at the
time of the search. Law enforcement officers searched Bearden’s
person and found a handgun, and Bearden was arrested and charged
with violation of 18 U.S.C. § 922(§).

II. Analysis

The burden is on the defendant “to show how disclosure of the

 

1The government's pleadings state that the conversations at issue
occurred between “the owner of the business and a confidential informant,” and
that the search was conducted with the consent of the owner. (Resp. at 1-2.)
Although it has not been conclusively established, these statements suggest
that Chambers was himself the owner of North Tire.

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informant would substantively assist his defense.” United States v.
MQQ;§, 954 F.Zd 379, 381 (6th Cir. 1992). lt is not enough that a
defendant speculates that an informant may have some information
which would be helpful to his case. United States v. Sharp, 778
F.2d 1182, 1186 (6th Cir. 1985). Bearden argues that the refusal
to disclose the identity of the confidential informant violates his
rights under the Confrontation Clause of the United States
Constitution. Bearden cites authority holding that the out-of-
court statements of a confidential informant may not be used to
establish the guilt of a defendant absent an opportunity for cross
examination. United States v. Cromer, 389 F.3d 662, 675 {6th Cir.
2004). He argues that knowledge of the identity of the CI is
necessary for effective cross examination of an adverse witness.
Bearden has not demonstrated that any of the CI’s statements
will be used by the government to prove the allegations in the
indictment. The Confrontation Clause is not implicated where
assertions are offered not for their content, but rather to explain
why or how an investigation began. See United States v. Martin, 897
F.2d 1368, 1371-72 (6th Cir. 1990). The Confrontation Clause “does
not bar the use of testimonial statements for purposes other than

establishing the truth of the matter asserted." Cromer, 389 F.3d at

 

676 (citing Tennessee v. Street, 471 U.S. 409, 414 (1985)). That
the “[o]fficers obviously accepted the CI’s statements for the
truth of the matter asserted,” as Bearden argues, does not mean

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that the statements can or will be offered at trial for that
purpose. The conversation at issue, at most, provides
justification for the officers’ decision to search the North Tire
store.

Bearden has been afforded access to a partial written
transcript of the conversations between the CI and Chambers. The
only pieces of evidence being withheld are the CI’s identity and an
audiotape of the conversation, for fear that Bearden will recognize
the CI’s voice. Bearden identifies only the following out-of-court
statement by the CI: “You can come over to my house and drink cool
aide with me if you want to ....” Because this statement is not
relevant to the question of Bearden's guilt of the offense charged
in the indictment, Bearden has not established that his
constitutional rights are implicated by a failure to disclose the
identity of the speaker.

III. Conclusion

For the foregoing reasons, the Defendant's motion is DENIED.

so ORDERED this l‘°d\day of May 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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Honorable Samuel Mays
US DISTRICT COURT

